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IN THE UNITED STATES DIS'I`RICT COURT
FOR 'I`HE DlSTRICT OF NEW JERSEY

 

HORIZON PHARMA IRELAND LIM]TED,
HZNP LIMITED and HORIZON PHARMA
USA, INC.,

Plaintiffs,
vs.

LUPIN I_.TD. and LUPIN
PHARMACEUTICALS INC.,

Defendants.

Civil Action Nos. l:lS-cv-SOS] -NLH-AMD
l :l 5-cv-5027-NLH'AMD
l :l$-cv-6935-NLH-AMD
1 : l 5-cv-7745-NLH-AMD
l :l6~cv~0732-NLH-AMD
l : l 6-cv-5054-NLH-AMD

 

 

STIPULATION AND ORDER OF DISMISSAL
WITHOUT PREJUDICE PURSUANT TO FED. R. CIV. P. 41(a)(2)

Pursuant to Rule 41 (a)(l )(A)(ii) of the Federal Rules of Civil Procedure, Plaintift`s I-Iorizon

Pharma lreland Limited, HZNP Limitcd, and Horizon Pharma USA, lnc., and Defendants Lupin

Ltd. and Lupin Phannaceuticals, Inc., hereby stipulate that the above-captioned action, including

all claims, counterclaims and defenses, is hereby dismissed in its entirety without prejudice.

Dated:June 8, 2018

s/John E. Flaherty

John E. Flahcxty

Ravin R. Patcl

McCARTER & ENGLISH LLP

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Newark, NJ 07102

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Attorneysfor Plaz'ntiffv Horz'zon Pha)'ma
Irelana' Limz'ted, HZNP Limz`ted and Horizon
Pharma USA, lnc.

 

s/Karcn A. Confoy

Karen A. Confoy

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Lawrenceville, NJ 08648~2311
(609) 896-3600

 

Atforneysfor Defendanzs Lupz'n Ltd. and Lupin
Pharmaceuticals, Inc.

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Hon. Noel L. Hillman, USDJ

 

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SO ORDERED on this day of

., 2018:

 

NOEL H. HILLMAN
UNITED STATES DISTRICT JUDGE

